
Appeals from an order of the ‘ Supreme Court, Saratoga Special Term, which denied the defendants’ motions to dismiss the complaint herein. Each defendant denies legal liability and asserts that the Supreme Court has no jurisdiction to entertain the actions pleaded; and that if plaintiff is entitled to a judgment it should be against the State of New York and her claim presented to the Court of Claims. No answers have been interposed and the motions to dismiss were made under the authority .of rule 107 of the Buies of Civil Practice. Order affirmed, with $25 costs and disbursements. Hill, P. J., Heffernan, Foster, Bussell and Deyo, JJ., concur. [See 273 App. Div. 830.]
